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                 4                              UNITED STATES DISTRICT COURT
                 5                                     DISTRICT OF NEVADA
                 6                                                 ***
                 7    UNITED STATES OF AMERICA,                           Case No. 2:18-CR-129 JCM (DJA)
                 8                                        Plaintiff(s),                   ORDER
                 9           v.
               10     BENJAMIN COTTMAN and
                      MELVIN BROWN,
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                                                        Defendant(s).
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                             Presently before the court is the government’s motion for leave to file its unredacted
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                      response under seal. (ECF No. 153).
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                             The government’s redacted response to defendant Benjamin Cottman’s sentencing
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                      memorandum “addresses sensitive and confidential information alleged by Cottman in his
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                      sealed supplement (ECF No. 145).” (ECF No. 153). The government “believes that portion
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                      of its response should be filed under seal and remain under seal” and now requests leave to
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                      file the fully unredacted response under seal. (Id.). This court finds good cause to grant the
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                      government’s motion.
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                             Accordingly,
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                             IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the government’s
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                      motion (ECF No. 153) be, and the same hereby is, GRANTED.
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                             DATED November 6, 2020.
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               26                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
